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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA
JAMES HAVASSY, individually, and on behalf of all
others similarly situated,                                 Civil Action No. ___________

                                  Plaintiff,

                    -against-

KELLER WILLIAMS REALTY, INC.,

                                 Defendant.


                                   NOTICE OF REMOVAL

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

       PLEASE TAKE NOTICE, that pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,

Defendant Keller Williams Realty, Inc. (“KWRI”) hereby give notice of the removal of this action

from the Court of Common Pleas of Lehigh County, Pennsylvania, Civil Division, where it is now

pending, to the United States District Court for the Eastern District of Pennsylvania. In support of

this Notice of Removal, KWRI states:

       1.       Plaintiff filed a Class Action Complaint (“Complaint”) styled James Havassy v.

Keller Williams Realty, Inc., bearing Case No. 2021-C-2317, before the Court of Common Pleas

of Lehigh County, Pennsylvania, Civil Division. A copy of the Complaint is annexed hereto as

Exhibit A.

       2.       KWRI first received notice of the Complaint at the earliest on or about September

30, 2021.

       3.       The Complaint asserts a federal cause of action against KWRI for purported

violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.

       4.       Accordingly, this action may be removed pursuant to 28 U.S.C. § 1441(a) as this

Court has federal question jurisdiction under 28 U.S.C. § 1331.
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        5.       This notice of removal is timely pursuant to 28 U.S.C. § 1446(b) because it is filed

within 30 days after service of the Complaint. See Murphy Bros., Inc. v. Michetti Pipe Stringing,

Inc., 526 U.S. 344 (1999).

        6.       This Notice was filed with the Clerk of the United States District Court within thirty

(30) days after service of the Complaint upon the KWRI. 28 U.S.C. § 1446(b).

        7.       28 U.S.C. §1441(b) provides as follows:

                 (b) Any civil action of which the district courts have original jurisdiction founded

                 on a claim or right arising under the Constitution, treaties or laws of the United

                 States shall be removable without regard to the citizenship or residence of the

                 parties. Any other such action shall be removable only if none of the parties in

                 interest properly joined and served as defendants is a citizen of the state in which

                 such action is brought.

        8.       The United States District Court for the Eastern District of Pennsylvania has

jurisdiction over these claims due to the fact that the TCPA allegations against KWRI contained

in the Complaint arise under the Constitution, laws or treaties of the United States. 28 U.S.C. §

1331.

        9.       Concurrent with the filing of this Notice of Removal, KWRI is filing a Notice of

Filing Notice of Removal with the Court of Common Pleas of Lehigh County, Pennsylvania, Civil

Division, as required by 28 U.S.C. § 1446(d).

        10.      A civil cover sheet and the payment of the required filing fee accompanies this

Notice as Exhibit B.

        11.      KWRI makes no admission of liability by this Notice of Removal and expressly

reserves its right to raise all defenses and objections to plaintiff’s claims after the action is removed



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to the above Court, including, without limitation, any objections to the merits and sufficiency of

the pleadings asserted by plaintiff.

       WHEREFORE, KWRI respectfully requests that this action be removed from the Court

of Court of Common Pleas of Lehigh County, Pennsylvania, Civil Division to the United States

District Court for the Eastern District of Pennsylvania.



                                              FREEMAN MATHIS & GARY LLP

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Dated: October 20, 2021




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                                CERTIFICATE OF SERVICE

       I hereby certify that I served a true and correct copy of the foregoing, Notice of Removal

via electronic mail on the following counsel of record:

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                                                     s/ John D. Shea
                                                     John D. Shea
